     Case 4:23-cv-03516    Document 88    Filed on 02/11/25 in TXSD   Page 1 of 2
                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                          February 11, 2025
                       IN THE UNITED STATES DISTRICT COURT                Nathan Ochsner, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                               • HOUSTON DIVISION
 LANDSCAPE CONSULTANTS                     §
 OF TEXAS, INC., AND                       §
 METROPOLITAN LANDSCAPE                    §
 MANAGEMENT, INC.,                         §
                                           §
         Plaintiffs,                       §
                                           §
V.                                         § Civil Action No. H-23-3516
                                           §
CITY OF HOUSTON, TEXAS, AND                §
MIDTOWN MANAGEMENT                         §
DISTRICT,                                  §
                                           §
         Defendants.                       §
                                           §
                                         ORDER
        Pending before the· Court are Plaintiffs' Motion for Summary Judgment

(Document No. 66); Defendant Midtown Management District's Motion for

Summary Judgment (Document No. 69); Defendant City of Houston's Motion for

Summary Judgment (Document No. 71); and Plaintiffs' Motion to Strike and for

Sanctions Against Defendant City of Houston (Document No. 75). Having

considered the motions, submissions, and applicable law, the Court finds that each

motion should be denied. Accordingly, the Court hereby

        ORD~RS that Plaintiffs'·Motion for Summary Judgment (Document No. 66)

is DENIED. The Court further
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     ORDERS that Defendant Midtown Management District's Motion for

Summary Judgment (Document No. 69) is DENIED. The Court further

     ORDERS that Defendant City of Houston's Motion for Summary Judgment

(Document No. 71) is DENIED. The Court further

     ORDERS that Plaintiffs' Motion to Strike and for Sanctions Against

Defendant City of Houston (Document No. 75) is DENIED.

     SIGNED at Houston, Texas, on this   JL day of February, 2025.


                                         DAVID HITTNER
                                         United States District Judge




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